                                UNITED STATES DISTRICT COURT
                                         MIDDLE DISTRICT OF LOUISIANA
                                             OFFICE OF THE CLERK


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                                                August 11, 2021

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        RE:    United States v. ExxonMobil Pipeline Company

                 Civil Action No.: 3:14-cv-00532

         Dear Sirs,

               I have been contacted by Judge John W. deGravelles who presided over the above-
         mentioned case.

               Judge deGravelles informed me that it has been brought to his attention that while he
         presided over the case involving ExxonMobil Pipeline Company, he owned stock in
         ExxonMobil Corporation, the parent of its subsidiary and affiliate, ExxonMobil Pipeline
         Company. His ownership of stock neither affected nor impacted his decisions in this case.
However, his stock ownership would have required recusal under the Code of Conduct for
United States Judges, and thus, Judge deGravelles directed that I notify the parties of the
conflict.

         Advisory Opinion 71, from the Judicial Conference Codes of Conduct Committee,
provides the following guidance for addressing disqualification that is not discovered until
after a judge has participated in a case:

               [A] judge should disclose to the parties the facts bearing on
               disqualification as soon as those facts are learned, even though
               that may occur after entry of the decision. The parties may then
               determine what relief they may seek and a court (without the
               disqualified judge) will decide the legal consequence, if any,
               arising from the participation of the disqualified judge in the
               entered decision.

       Although Advisory Opinion 71 contemplated disqualification after a Court of
Appeals oral argument, the Committee explained “[s]imilar considerations would apply when
a judgment was entered in a district court by a judge and it is later learned that the judge was
disqualified.”

       With Advisory Opinion 71 in mind, you are invited to respond to Judge deGravelles’
disclosure of a conflict in this case. Should you wish to respond, please submit your response
on or before September 10, 2021. Any response will be considered by another judge of this
court without the participation of Judge deGravelles.

                                            Sincerely,


                                         S  Michael L. McConnell
                                            Clerk of Court
                                            United States District Court
                                            Middle District of Louisiana
